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                         UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA

SHANNON REEVES                                      CIVIL ACTION NO. 19-10766


VERSUS                                              SECTION “T”
                                                    JUDGE GUIDRY


CITY OF NEW ORLEANS, ET AL.                         MAGISTRATE DIVISION 5
                                                    MAGISTRATE JUDGE NORTH


    PLAINTIFF, SHANNON REEVES’, MEMORANDUM IN SUPPORT OF
          MOTION FOR COMMENCEMENT OF DISCOVERY

    This Memorandum in Support of Motion for Commencement of Discovery is

filed by Plaintiff, Shannon Reeves,

     I.      MOTION FOR RECONSIDERATION AND IMMUNITY FOR
           INDIVIDUAL DEFENDANTS SHOULD BE DENIED; DISCOVERY
                            SHOULD PROCEED.

          A. F.R.C.P. Rule 60(b) Motions for Relief From a Judgment or Order

          Insofar as the Defendant’s motion requests this Court’s reconsideration of its

order pursuant to Federal Rule of Civil Procedure 59(e), Defendants’ motion was

not timely filed. Defendants’ motion is properly considered pursuant to Rule

60(b).1


1 Even if Defendants’ motion had been filed within the 10-day period for submission of motions
made pursuant to Federal Rule of Civil Procedure 59(e), such a motion “is not the proper vehicle
for rehashing evidence, legal theories, or arguments” and “is not intended to give the parties ‘a
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       There is no specific provision in the Federal Rules of Civil Procedure for a

“Motion to Reconsider.” Bollinger Shipyards Lockport, L.L.C. v. AmClyde

Engineered Prods. Co., Nos. 01-707, 01-708, 2003 U.S. Dist. LEXIS 10577, *2-*3

(E.D. La. 2003), citing to Lavespere v. Niagara Mach. & Tool Works, Inc., 910

F.2d 167, 173 (5th Cir. 1990). However, the Fifth Circuit and this Court have

found that “a motion to reconsider a dispositive pre-trial motion is analogous to a

motion to “alter or amend the judgment” under Federal Rule of Civil Procedure

59(e) or a motion “for relief from judgment” under Rule 60(b). Bollinger

Shipyards Lockport, L.L.C. v. AmClyde Engineered Prods. Co., supra at *3. A

party who moves the court to reconsider its ruling on a dispositive pre-trial motion,

pursuant to Rule 59(e), must do so within ten (10) days of the court’s ruling. Id. If

such a motion is filed outside of that ten (10)-day period, it is appropriately

cognized as “motion for relief from judgment” pursuant to Rule 60(b). Id.

       In this case, this Court’s ruling on Defendants’ Motions to Dismiss was

signed August 5, 2020, and filed into the record in this cause on August 6, 2020

(Doc. 166). Defendants’ Motion for Reconsideration was filed fourteen (14) days

later, on August 20, 2020 (Doc. 168). Accordingly, Defendants’ motion is



second bite at the apple.’” Berry v. Roberson, No. 13-00145-BAJ-RLB, 2016 U.S. Dist. LEXIS
149496, *4-*5 (M.D. La. 2016)(internal citations omitted). Because Defendants’ motion offers
no new evidence, legal theory(ies), or argument, a Rule 59(e) analysis would also mandate
dismissal.


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properly considered pursuant to Rule 60(b). (Order at Doc. 166; Motions to

Dismiss at 27, 38, 78, 80). On August 20, 2020, Defendants filed a Motion for

Reconsideration of this Court’s August 5, 2020 Order (Motion for Reconsideration

at Doc. 168).

      Federal Rule of Civil Procedure 60(b) provides as follows:

              (b) GROUNDS FOR RELIEF FROM A FINAL JUDGMENT,
      ORDER, OR PROCEEDING. On motion and just terms, the court
      may relieve a party or its legal representative from a final judgment,
      order, or proceeding for the following reasons:
      (1) mistake, inadvertence, surprise, or excusable neglect;
      (2) newly discovered evidence that, with reasonable diligence, could
      not have been discovered in time to move for a new trial under Rule
      59(b);
      (3) fraud (whether previously called intrinsic or extrinsic),
      misrepresentation, or misconduct by an opposing party;
      (4) the judgment is void;
      (5) the judgment has been satisfied, released, or discharged; it is based
      on an earlier judgment that has been reversed or vacated; or applying
      it prospectively is no longer equitable; or
      (6) any other reason that justifies relief.

      Defendants have alleged no basis for relief pursuant to any of the conditions

enumerated in Rule 60(b) subsections (1) through (5). Subsection (6)’s general

“any other reason that justifies relief” is the only applicable clause.




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       Relief under Rule 60(b) “is an extraordinary remedy.”2 The Fifth Circuit has

held that, although subsection (6) contains “a catch-all provision, meant to cover

circumstances not covered by Rule 60(b)’s other enumerated provisions[,]

Rule 60(b)(6) motions ‘will be granted only if extraordinary circumstances are

present.’”3 To support a claim for relief pursuant to Rule 60(b)(6), Defendants

must show that this Court’s judgment was “manifestly unjust.”4

       This Court’s denial of Defendants’ requests that claims be dismissed does

not comprise an extraordinary circumstance, nor was it manifestly unjust. As such,

Defendants’ motion should be denied, and discovery should commence.

       B. Commencement of Discovery as to Defendant City; Commencement
          of Limited Discovery as to Individual Defendants

       Defendant City of New Orleans has no claim of qualified immunity. As

such, discovery as to the Defendant, City of New Orleans, should commence. In

this context, Plaintiff would request a ruling from the Court as to her motion to

compel (Doc. 120).



2In re FEMA Trailer Formaldehyde Prods. Liab. Litig., No. 07-1873, 2011 U.S. Dist. LEXIS
141280 at *14 (E.D. La. 2011), citing Pryor v. U.S. Postal Service, 769 F. 2d 281, 287 (5th Cir.
1985).
3Hess v. Cockrell, 281 F.3d 212, 216 (5th Cir. 2002), citing Batts v. Tow-Motor Forklift Co., 66
F.3d 743, 747 (5th Cir. 1995)(quoting Bailey v. Ryan Stevedoring Co., 894 F.2d at 160).
4
 West v. Reith, No. 15-2512, 2019 U.S. Dist. LEXIS 139562 at *10 (E.D. La. 2019)(citing
Edward H. Bohlin Co. v. Banning Co., 6 F.3d 350, 357 (5th Cir. 1993), in turn quoting
Lavespere v. Niagara Mach. & Tool Works, Inc., 910 F.2d 167, 173 (5th Cir. 1990)).


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      With respect to the remaining individual Defendants, as Plaintiff noted in

her memorandum filed at Doc. 137-1, some discovery is permissible prior to this

Court’s disposition of Defendants’ claims of qualified immunity. Plaintiff may

seek clarification of “facts needed to rule on the immunity claim.” Lion Boulos v.

Wilson, 834 F. 2d 504, 507-508 (5th Cir. 1987).

      In this case, Defendants’ claims of immunity are either partially or wholly

based on questions of fact. Plaintiff must be permitted to conduct some discovery,

in order to ascertain the extent of Defendants’ individual involvement in the factual

circumstances giving rise to the Plaintiff’s Title VII claim.

      Accordingly, Plaintiff respectfully requests that this Court permit

commencement of discovery as to the Defendant City of New Orleans.

Additionally, Plaintiff requests that this Court permit commencement of limited

discovery regarding individual Defendants, in order that Plaintiff may seek

clarification of necessary facts regarding the immunity claim.

      Specifically, Plaintiff desires to take the depositions of the individual

Defendants. Further, this Court has yet to rule on the Plaintiff’s motion to compel

(Doc. 120); Plaintiff desires to propound written discovery requests upon the

Defendant which are specifically tailored to elicit information relevant to the

Defendants’ claims of qualified immunity.




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      Finally, Plaintiff would request that the Court set a specific time period

regarding the limited discovery to be conducted as to the individual Defendants.

Plaintiff would also request in this context that the Court consider briefing by the

parties, submitted within a set period of time thereafter, regarding support for

Plaintiff’s opposition to the Defendants’ claims, and Defendants’ response thereto.

      C. Conclusion and Prayer

      Plaintiff respectfully requests that this Court deny the Defendants’ Motion

for Reconsideration; that this Court permit discovery to commence as to the City of

New Orleans; that this Court permit discovery to commence as to the individual

Defendants, for the limited purpose of seeking information as to the Defendants’

claims of qualified immunity, for a period of sixty (60) days; and finally that this

Court consider briefing as to Plaintiff’s opposition to Defendants’ claims of

qualified immunity, to be submitted by the Plaintiff within thirty (30) days of

termination of said limited discovery period, with any responses by Defendants to

be submitted within twenty-one (21) days of the date of filing of Plaintiff’s brief.




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  DATE: November 12, 2020.

                               Respectfully submitted,

                               /S/ ELLYN J. CLEVENGER
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                               ATTORNEYS FOR THE PLAINTIFF
                               SHANNON REEVES




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